                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA


NATIVE VILLAGE OF CHIGNIK LAGOON, )
d/b/a CHIGNIK LAGOON VILLAGE            )
COUNCIL,                                )
                                        )
                             Plaintiff, )
                                        )
       vs.                              )
                                        )
ORION MARINE CONTRACTORS, INC.,         )
and LIBERTY MUTUAL GROUP, INC.,         )
d/b/a LIBERTY MUTUAL INSURANCE          )
COMPANY,                                )
                                        )                    No. 3:18-cv-0140-HRH
                            Defendants. )
_______________________________________)



                                         ORDER

                                      Case Dismissed

       The court is in receipt of the parties’ Stipulation and Order of Dismissal with
Prejudice,1 filed March 25, 2019. The stipulation is approved, and this matter is hereby
dismissed with prejudice, the parties to bear their respective costs and attorney fees.

       DATED at Anchorage, Alaska, this 26th day of March, 2019



                                                  /s/ H. Russel Holland
                                                  United States District Judge




       1
        Docket No.26.

Order – Case Dismissed                                                                    -1-

           Case 3:18-cv-00140-HRH Document 27 Filed 03/26/19 Page 1 of 1
